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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
 10

 11    ANDREW H. KRAMER,                           Case No. 2:19-cv-08385-JAK-AFM
 12                         Plaintiff,
                                                   JUDGMENT
 13
                v.
 14
       ALEX VILLANUEVA, et al.,
 15
                            Defendants.
 16

 17             Pursuant to the Court’s Order Accepting the Report and Recommendation of
 18    the United States Magistrate Judge,
 19             IT IS ORDERED AND ADJUDGED that the Fourth Amended Complaint is
 20    dismissed without further leave to amend and with prejudice for failure to state a
 21    claim.
 22

 23    DATED: $SULO
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 25                                           ____________________________________
                                                     JOHN A. KRONSTADT
 26                                             UNITED STATES DISTRICT JUDGE
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